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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


TAMINIKA SHAUL, DERRICK                                               CIVIL ACTION
THOMAS, and RICHARD J. TURNER

V.                                                                    NO. 18-2851

CANAL INSURANCE COMPANY,
CHRISTOPHER C. COOK, and                                              SECTION “F”
TEXAS FREIGHT SERVICES, INC.


                             ORDER AND REASONS

      Before the Court is the plaintiffs’ Rule 12(b)(6) motion to

dismiss     the    defendants’      amended       counterclaim,          or     in     the

alternative, Rule 56 motion for summary judgment.                     For the reasons

that follow, the motion is DENIED.

                                  Background

      This personal injury action arises out of a motor vehicle

accident that allegedly occurred on the I-10’s Highrise Bridge in

New Orleans, Louisiana.

      On November 29, 2017, Richard Turner, Taminika Shaul, and

Derrick   Thomas    were   riding    as       passengers     in   a    Nissan    Murano

traveling    westbound     on    Interstate        10   in    the      center        lane.

Christopher Cook was allegedly driving a Freightliner semi-truck

in the right-hand lane next to the Nissan.                   It is alleged that,

“suddenly and without warning,” Mr. Cook “changed to the middle

lane,” causing his semi-truck to strike the Nissan.



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     On March 16, 2018, Richard Turner, Taminika Shaul, and Derrick

Thomas sued Christopher Cook, Texas Freight Services, Inc. (Cook’s

employer), and Canal Insurance Company (Texas Freight’s automobile

liability insurer), alleging that Cook’s negligence caused their

injuries and seeking damages in excess of $1,000,000.

     In October of 2018, the defendants were granted leave to file

a counterclaim, alleging that the plaintiffs misrepresented and/or

staged the accident and/or misrepresented their injuries, causing

the defendants to sustain damages in the form of attorneys’ fees

and litigation expenses.       The plaintiffs then moved to dismiss the

counterclaim   for   failure    to   state   a   claim,   after   which   the

defendants filed an amended counterclaim on December 17, 2018.

     In their amended counterclaim, the defendants allege that the

plaintiffs conspired together to cause and/or stage this accident.

For support, the defendants submit that Mr. Cook did not merge to

the left as plaintiffs allege or experience any type of impact

consistent with a motor vehicle accident.            They further allege

that there was no damage to the 18-wheeler and minimal damage to

the passenger side of the plaintiffs’ vehicle, which plaintiffs

attribute to the purported accident discussed in their complaint.

The defendants also allege that they have discovered over 30 other

accidents with similar factual scenarios, where 18-wheelers on the

I-10 or 6-10 in New Orleans are flagged down regarding accidents

of which their drivers are unaware.          According to the defendants,

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plaintiff Richard Turner’s brother (Rashad Turner) was involved in

one of these similar accidents one week prior to this accident,

his    mother   (Tiffany   Turner)   and        sister    (Adonte    Turner)   were

involved in their own similar accident just a week before Rashad’s,

and Tiffany Turner’s former husband (Juan Matthews) was involved

in an accident with the same fact pattern about four months

earlier.

       The plaintiffs now move to dismiss the defendants’ amended

counterclaim pursuant to Rule 12(b)(6), or in the alternative, for

summary judgment under Rule 56.

                                      I.

                                      A.

       Rule 12(b)(6) of the Federal Rules of Civil Procedure allows

a party to move for dismissal of a complaint for failure to state

a claim upon which relief can be granted.                Such a motion is rarely

granted because it is viewed with disfavor.                See Lowrey v. Tex. A

& M Univ. Sys., 117 F.3d 242, 247 (5th Cir. 1997) (quoting Kaiser

Aluminum & Chem. Sales, Inc. v. Avondale Shipyards, Inc., 677 F.2d

1045, 1050 (5th Cir. 1982)).

       Under Rule 8(a)(2) of the Federal Rules of Civil Procedure,

a pleading must contain a “short and plain statement of the claim

showing that the pleader is entitled to relief.”                      Ashcroft v.

Iqbal, 556 U.S. 662, 678-79 (2009) (citing Fed. R. Civ. P. 8).

“[T]he     pleading   standard   Rule       8   announces     does   not   require

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‘detailed     factual    allegations,’       but    it   demands    more    than   an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Id. at

678 (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

Stated differently, Rule 8 “does not unlock the doors of discovery

for a plaintiff armed with nothing more than conclusions.”                    Id. at

678-79.

       In considering a Rule 12(b)(6) motion, the Court “accept[s]

all well-pleaded facts as true and view[s] all facts in the light

most favorable to the plaintiff.”             See Thompson v. City of Waco,

Texas, 764 F.3d 500, 502 (5th Cir. 2014) (citing Doe ex rel. Magee

v. Covington Cnty. Sch. Dist. ex rel. Keys, 675 F.3d 849, 854 (5th

Cir. 2012) (en banc)).         But, in deciding whether dismissal is

warranted, the Court will not accept conclusory allegations in the

complaint as true.       Id. at 502-03; see also Iqbal, 556 U.S. at 678

(“[W]e are not bound to accept as true a legal conclusion couched

as a factual allegation.”) (internal citations omitted).

       To survive dismissal, “‘a complaint must contain sufficient

factual matter, accepted as true, to state a claim to relief that

is plausible on its face.’” Gonzalez v. Kay, 577 F.3d 600, 603

(5th   Cir.   2009)     (quoting    Iqbal,    556    U.S.   at     678)    (internal

quotation marks omitted).          “Factual allegations must be enough to

raise a right to relief above the speculative level, on the

assumption that all the allegations in the complaint are true (even

if doubtful in fact).”        Twombly, 550 U.S. at 555 (citations and

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footnote omitted).       “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the

reasonable   inference    that   the       defendant   is   liable   for   the

misconduct alleged.”      Iqbal, 556 U.S. at 678 (“The plausibility

standard is not akin to a ‘probability requirement,’ but it asks

for more than a sheer possibility that a defendant has acted

unlawfully.”).   This is a “context-specific task that requires the

reviewing court to draw on its judicial experience and common

sense.”   Id. at 679.      “Where a complaint pleads facts that are

merely consistent with a defendant’s liability, it stops short of

the line between possibility and plausibility of entitlement to

relief.” Id. at 678 (internal quotations omitted) (citing Twombly,

550 U.S. at 557).        “[A] plaintiff’s obligation to provide the

‘grounds’ of his ‘entitle[ment] to relief’”, thus, “requires more

than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.”            Twombly, 550 U.S. at

555 (alteration in original) (citation omitted).

                                   B.

     Federal Rule of Civil Procedure 56 instructs that summary

judgment is proper if the record discloses no genuine dispute as

to any material fact such that the moving party is entitled to

judgment as a matter of law.     No genuine dispute of fact exists if

the record taken as a whole could not lead a rational trier of

fact to find for the non-moving party. See Matsushita Elec. Indus.

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Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).                      A genuine

dispute of fact exists only “if the evidence is such that a

reasonable jury could return a verdict for the non-moving party.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

     The mere argued existence of a factual dispute does not defeat

an otherwise properly supported motion.             See id.    In this regard,

the non-moving party must do more than simply deny the allegations

raised by the moving party.         See Donaghey v. Ocean Drilling &

Exploration Co., 974 F.2d 646, 649 (5th Cir. 1992).                      Rather, he

must come forward with competent evidence, such as affidavits or

depositions, to buttress his claims.             Id.   Hearsay evidence and

unsworn documents that cannot be presented in a form that would be

admissible   in   evidence   at   trial     do   not   qualify      as    competent

opposing evidence.     Martin v. John W. Stone Oil Distrib., Inc.,

819 F.2d 547, 549 (5th Cir. 1987); Fed. R. Civ. P. 56(c)(2).

“[T]he   nonmoving   party    cannot       defeat    summary       judgment     with

conclusory   allegations,    unsubstantiated         assertions,         or   only   a

scintilla of evidence.”       Hathaway v. Bazany, 507 F.3d 312, 319

(5th Cir. 2007) (internal quotation marks and citation omitted).

Ultimately, “[i]f the evidence is merely colorable . . . or is not

significantly     probative,”     summary        judgment     is     appropriate.

Anderson, 477 U.S. at 249 (citations omitted); King v. Dogan, 31

F.3d 344, 346 (5th Cir. 1994) (“Unauthenticated documents are

improper as summary judgment evidence.”).

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     Summary judgment is also proper if the party opposing the

motion fails to establish an essential element of his case. See

Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). In deciding

whether a fact issue exists, courts must view the facts and draw

reasonable inferences in the light most favorable to the non-

moving party.   Scott v. Harris, 550 U.S. 372, 378 (2007).      Although

the Court must “resolve factual controversies in favor of the

nonmoving party,” it must do so “only where there is an actual

controversy, that is, when both parties have submitted evidence of

contradictory facts.”     Antoine v. First Student, Inc., 713 F.3d

824, 830 (5th Cir. 2013) (internal quotation marks and citation

omitted).

                                  II.

     The plaintiffs urge the Court that the fraud allegations in

the defendants’ amended counterclaim fail to satisfy Rule 9(b)’s

heightened pleading standard, and in any event, are not supported

by competent summary judgment evidence under Rule 56.

                                   A.

     The Court first considers whether the defendants’ amended

counterclaim with particularity alleges fraud.          Under Louisiana

law, “[f]raud is a misrepresentation or a suppression of the truth

made with the intention either to obtain an unjust advantage for

one party or to cause a loss or inconvenience to the other.”             La.

Civ. Code art. 1953.    “The elements of a Louisiana delictual fraud

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or   intentional     misrepresentation      cause    of     action      are:    (a)   a

misrepresentation of a material fact, (b) made with the intent to

deceive,     and   (c)   causing   justifiable      reliance       with    resultant

injury.”      McGee-Hudson v. United States, No. 16-796, 2017 WL

6803767, at *3 (M.D. La. Oct. 31, 2017) (quoting Guidry v. U.S.

Tobacco, Inc., 188 F.3d 619, 627 (5th Cir. 1999)).                 State law fraud

claims, such as those alleged by the defendants here, are subject

to the heightened pleading requirement set forth in Federal Rule

of Civil Procedure 9(b).         Dorsey v. Portfolio Equities, Inc., 540

F.3d 333, 338-39 (5th Cir. 2008).

      Under Rule 9(b), “a party must state with particularity the

circumstances constituting fraud.”             Fed. R. Civ. Proc. 9(b).

However, “[m]alice, intent, knowledge, and other conditions of a

person’s mind may be alleged generally.”              Id.     The Fifth Circuit

“‘interprets Rule 9(b) strictly, requiring a [party] pleading

fraud   to   specify     the   statements   contended       to     be   fraudulent,

identify the speaker, state when and where the statements were

made, and explain why the statements were fraudulent.’”                        Dorsey,

540 F.3d at 339 (quoting Herrmann Holdings Ltd. v. Lucent Techs.

Inc., 302 F.3d 552, 564-65 (5th Cir. 2002)).              In other words, “Rule

9(b) requires the complaint to set forth ‘the who, what, when,

where, and how’ of the events at issue.”                     Id. (quoting ABC

Arbitrage Plaintiffs Grp. v. Tchuruk, 291 F.3d 336, 350 (5th Cir.

2002)).      Because     the   particularity   demanded       by    Rule    9(b)      is

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supplemental to Rule 8(a)’s pleading standard, “dismissal for

failure to plead fraud with particularity under Rule 9(b) is

treated as a dismissal for failure to state a claim under Rule

12(b)(6).”   Lentz v. Trinchard, 730 F. Supp. 2d 567, 579 (E.D. La.

2010) (quoting U.S. ex rel. Thompson v. Columbia/HCA Healthcare

Corp., 125 F.3d 899, 901 (5th Cir. 1997)).

     The Court finds that the defendants’ amended counterclaim

satisfies    Rule    9(b)’s   particularity     requirement.    Here,    the

alleged misrepresentation is the plaintiffs’ assertion in their

complaint that they were injured in a motor vehicle accident caused

by Christopher Cook on November 29, 2017.               According to the

defendants’ counterclaim, this assertion is untrue because the

plaintiffs intentionally caused or “staged” the accident.                For

support, the defendants allege that Mr. Cook did not feel any type

of impact consistent with a motor vehicle accident, that there was

no damage to the 18-wheeler and minimal damage to the plaintiffs’

vehicle, and that they have discovered over 30 other accidents

with similar factual scenarios, where 18-wheelers on the I-10 or

6-10 in New Orleans are flagged down regarding accidents of which

their drivers are unaware.

     Notably,       the   defendants   allege    that   plaintiff   Richard

Turner’s mother, sister, brother, and former stepfather had been

involved in three accidents nearly identical this one, after which

they retained Vanessa Motta or Edwin Shorty, Jr. (the lead counsel

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of record in this case) to represent them in asserting personal

injury claims.           Specifically, the defendants allege that Richard

Turner’s brother (Rashad Turner) was involved in one of these

similar accidents one week prior to this accident, that his mother

(Tiffany Turner) and sister (Adonte Turner) were involved in their

own     similar    accident     just    a    week   before   Rashad’s,   and   that

Tiffany’s former husband (Juan Matthews) was involved in another

accident with a similar fact pattern about four months earlier.

The defendants further allege that Tiffany Turner’s cellphone

records reveal that she has been associated with Ryan Harris, who

was involved in an accident with an 18-wheeler on the I-10 in March

of 2017 and is related to multiple individuals who have also been

involved in other similar accidents.

        The defendants further submit that they have uncovered a

comment on one of Tiffany Turner’s Facebook photos, where an

individual named Marlene Kennedy states that Tiffany and her kids

have intentionally caused or faked accidents on the “blind side”

of 18 wheelers.           The counterclaim also includes a detailed chart

that delineates the plaintiffs in 20 strikingly similar lawsuits,

counsel for the plaintiffs in those lawsuits, when and where the

accidents allegedly occurred, and what circumstances caused the

underlying accidents.           The defendants ultimately allege that the

plaintiffs        here    and   those   in    the   20   similar   lawsuits    have



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fraudulently    misrepresented      the    occurrence    of    motor    vehicle

accidents to defraud automobile insurance companies.

      If accepted as true and considered together, these factual

allegations support an inference that the plaintiffs have made

misrepresentations in their complaint to collect damages from the

defendants for an accident that they staged.            And in being forced

to defend plaintiffs’ purportedly false claims, the defendants

have suffered damages in the form of attorneys’ fees and litigation

expenses. 1

      The Court finds two recent rulings by Magistrate Judge van

Meerveld in related cases instructive.             In Frazier v. Runnels,

Judge van Meerveld held that allegations of fraud asserted against

Tiffany Turner, Adonte Turner, and Dimitri Frazier were stated

with particularity because the counterclaim alleged that “similar

accidents ha[d] been suffered by relatives of Tiffany Turner who

were represented by the same attorney who pursued other, similar

claims   on   behalf   of   other   plaintiffs   and    that   Tiffany      ha[d]

previously     made    questionable    insurance    claims     and     []    been

convicted of forgery.”       See Order and Reasons dtd. 9/24/18, Rec.

Doc. 22, Civil Action No. 18-2340.           However, in Reff v. Werner

Enterprises, Inc., Judge van Meerveld determined that a fraud




1 The merits of defendants’ assertions will necessarily await
trial. If successful, this Court will have the discretion to refer
the matter to the office of the United States Attorney.
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counterclaim       did   not   survive     Rule    9(b)’s      heightened    pleading

standard because it only alleged “some coincides, several of which

[we]re not that striking.”           See Order and Reasons dtd. 3/20/19,

Rec. Doc. 32, Civil Action No. 18-8350.                  Distinguishing the Reff

counterclaim from the one asserted in Frazier, Judge van Meerveld

explained that “several of the ‘similar’ accidents cited by the

defendants in Frazier actually involved relatives of the Frazier

plaintiffs,” while the defendants in Reff only alleged that one of

the plaintiffs lived in the same vicinity as other purported

accident victims and speculated that he may be related to them.

        Here, the inference of fraud is more analogous to that present

in Frazier than Reff.          Notably, the defendants have explained in

their amended counterclaim that plaintiff Richard Turner is the

son of Tiffany Turner, brother of Adonte and Rashad Turner, and

the     former     step-son    of   Juan    Matthews.          Thus,   the   alleged

connections to other similar accidents here are based on neither

geographic proximity to the residences of other plaintiffs nor

conjecture       about   familial    relationships.            Because   the      fraud

allegations in the defendants’ amended counterclaim are stated

with     particularity,        dismissal        under   Rule      12(b)(6)   is    not

appropriate.

                                           B.

        The Court next considers whether the defendants’ counterclaim

survives     the    plaintiffs’     motion       for    summary    judgment.        The

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plaintiffs contend that the defendants’ fraud allegations are

supported by only two pieces of evidence, neither of which is

competent: (1) the unsworn statement of Marlene Kennedy given to

a private investigator on April 20, 2018; and (2) a Facebook post

purportedly made by Ms. Kennedy on September 26, 2016.                     The

plaintiffs further submit that the defendants’ decision to settle

a personal injury claim filed by Sade Thomas, the driver of the

car in which the plaintiffs were riding, undermines the defendants’

fraud counterclaim.

      In response, the defendants present the following evidence to

substantiate their fraud allegations: (1) the deposition testimony

of each plaintiff in this case; (2) certified cellphone records;

(3) certified accident reports from similar alleged incidents; (4)

pleadings filed in lawsuits arising out of those accidents; and

(5) the report of Wayne Winkler, an accident reconstruction expert.

      First, the deposition testimony of plaintiff Richard Turner

confirms that he is related to at least three other plaintiffs

involved in two similar accidents.           During his deposition on

October 11, 2018, Richard Turner testified that he is the son of

Tiffany Turner and the brother of Adonte Turner and Rashad Turner. 2




2 On April 3, 2019, Tiffany Turner, Adonte Turner, and Dimitri
Frazier moved to dismiss their own personal injury claims, which
were pending before Judge Lemelle in another Section of this Court.
The motion to dismiss was filed approximately two weeks after the
Frazier plaintiffs submitted affidavits, attesting that they would
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Richard Turner also stated, under oath, that he was living with

his mother, sister, and brother when the accident alleged in this

occurred.

       Certified cellphone records, in turn, establish a consistent

pattern   of    communication    between     plaintiff       Taminka    Shaul   and

Tiffany Turner.      Notably, Ms. Shaul’s cellphone records document

approximately ten calls between her number and Tiffany Turner’s on

the day of this alleged accident, followed by a dozen calls the

next   day. 3     The    defendants   next    point     to    Derrick    Thomas’s

deposition      testimony   to   establish    a   link       between    the   third

plaintiff in this case and Tiffany Turner.              During his deposition

on October 11, 2018, Derrick Thomas acknowledged that he had met

or seen Tiffany Turner and that he knew where she was living at

the time of the accident in which he was involved.

       Finally,    the   defendants   submit      the    report    of    accident

reconstruction expert, Wayne Winkler, in which he opines that the

“the claims arising out of this incident stem from intentional

and/or staged acts.”         In reaching his conclusion, Mr. Winkler

explains, in part, that the “magnitude and characteristics of the

damage on the [plaintiffs’] vehicle were consistent with the

actions of a driver who purposely made contact with the tires on



assert their Fifth Amendment privilege against self-incrimination
if called to testify at trial.
3 During her deposition on June 11, 2018, Tiffany Turner testified

that her cell phone number was 504-535-8171 in November of 2017.
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a commercial semi-trailer” and that Ms. Shaul and Mr. Thomas’s

testimony    regarding   the   accident   were   inconsistent    with      the

minimal physical damage on the vehicle in which they were riding.

Together, this evidence raises a serious issue of material fact as

to whether Richard Turner, Taminika Shaul, and Derrick Thomas made

misrepresentations in their complaint to collect damages for an

accident that they staged. 4

      Accordingly, for the foregoing reasons, IT IS ORDERED: that

the plaintiffs’ motion to dismiss or for summary judgment is hereby

DENIED.



                               New Orleans, Louisiana, May 7, 2019


                                   ______________________________
                                        MARTIN L. C. FELDMAN
                                    UNITED STATES DISTRICT JUDGE




4 The admissibility of Sade Thomas’s settlement is the subject of
a motion in limine by the defendants that is set for hearing on
the trial date, June 3, 2019. For purposes of this motion, the
Court need not decide whether such evidence is admissible because,
even if it is considered, there is nonetheless a genuine dispute
of material fact as to whether this accident did not occur as the
plaintiffs allege.
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